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     MICHAEL CHASTAINE, State Bar #121209
 1   THE CHASTAINE LAW OFFICE
     101 Parkshore Drive, Suite 100
 2   Folsom, CA 95630
     Telephone: 916-732-7150
 3
     Attorneys for Defendant
 4   Chien Minh Le
 5
 6                                IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                                  ) Case No.: 2:10-cr-00284-MCE
     UNITED STATES OF AMERICA,                      )
10                                                  ) STIPULATION AND ORDER
                     Plaintiff,                     ) CONTINUING STATUS CONFERNCE
11                                                  )
            v.                                      )
12                                                  )
     CHIEN MINH LE, et al.,                         )
13                                                  )
                     Defendants.                    )
14
            Defendant Chien Minh Le, by and through his attorney, Michael Chastaine, Hung Pham
15
     by and through his attorney Dina Santos, Quoc Long by and through his attorney Candice Fry,
16
     Tuan Chu by and through his attorney Hayes Gable, Phoung Pham by and through his attorney
17
     Michael Long, Quong Long by and through his attorney Mark Reichel, Thui Tran by and
18
     through her attorney Dave Fisher, Nhung Vu by and through his attorney Matthew Bockman,
19
     Diep Vu by and through his attorney, Erin Radekin, and the United States, by and through
20
     Assistant United States Attorney Todd Leras, hereby stipulate and agree to continue the status
21
     hearing in the above-captioned case from Thursday, August 26, 2010 at 9:00 a.m. to Thursday,
22
     October 14, 2010 at 9:00 a.m. The continuance is requested to obtain and review the large
23
     amount of discovery that is expected to be provided within the week.
24
     Dated: August 24, 2010                      The CHASTAINE LAW OFFICE
25
                                                 By: ____/s/ Michael Chastaine
26                                                      MICHAEL CHASTAINE
27                                                      Attorney for Chien Minh Le

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 1   Dated: August 24, 2010

 2                                      By: ____/s/ Dina Santos
 3                                             DINA SANTOS
                                               Attorney for Hung Pham
 4
     Dated: August 24, 2010
 5
                                        By: ____/s/ Candice Fry
 6                                             CNADICE FRY
 7                                             Attorney for Quoc Long

 8   Dated: August 24, 2010

 9                                      By: ____/s/ Hayes Gable
                                               HAYES GABLE
10
                                               Attorney for Tuan Chu
11   Dated: August 24, 2010
12
                                        By: ____/s/ Michael Long
13                                             MICHAEL LONG
                                               Attorney for Phoung Pham
14
     Dated: August 24, 2010
15
16                                      By: ____/s/ Mark Reichel
                                               MARK REICHEL
17                                             Attorney for Quong Long
18   Dated: August 24, 2010
19
                                        By: ____/s/ Dave Fisher
20                                             DAVE FISHER
                                               Attorney for Thui Tran
21
     Dated: August 24, 2010
22
23                                      By: ____/s/ Erin Radekin
                                               ERIN RADEKIN
24                                             Attorney for Diep Vu
25
     Dated: August 24, 2010             OFFICE OF THE FEDERAL DEFENDER
26
27                                      By: ____/s/ Matthew Bockman
                                               MATTHEW BOCKMAN
28                                             Attorney for Nhung Vu


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 1
 2
     Dated: August 24, 2010                      BENJAMIN B. WAGNER
 3                                               United States Attorney
 4                                               By: ___/s/ Todd Leras
 5                                                      TODD LERAS
                                                        Assistant U.S. Attorney
 6
 7
 8
                                                 ORDER
 9
            GOOD CAUSE APPEARING, in that it is the stipulation of the parties:
10
            IT IS HEREBY ORDERED that the status conference scheduled for Thursday, August
11
     26, 2010 at 9:00 a.m. be continued to Thursday, October 14, 2010 at 9:00 a.m. and that the
12
     period from August 23, 2010 to October 14, 2010 is excludable from calculation under the
13
     Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(7)(A).
14
15   DATED: August 27, 2010
16                                           __________________________________
17                                           MORRISON C. ENGLAND, JR
                                             UNITED STATES DISTRICT JUDGE
18
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